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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  WILLIAM BARNHOUSE,                                     )
                                                         )
                 Plaintiff,                              )    No. 1:19-cv-958-TWP-DLP
                                                         )    Hon. Tanya Walton Pratt
                 v.                                      )    Hon. Doris L. Pryor
                                                         )
  CITY OF MUNCIE, FONDA KING, STEVE                      )
  STEWART, GORDON WATTERS, OFFICER                       )
  TODD, STEVE BLEVINS, DONALD BAILEY,                    )
  TERRY WINTERS, CARL SOBIERALSKI, AS-                   )
  YET UNIDENTIFIED MUNCIE POLICE                         )
  OFFICERS, and AS-YET UNIDENTIFIED                      )
  EMPLOYEES OF THE INDIANA STATE                         )
  POLICE CRIME LAB,                                      )    JURY TRIAL DEMANDED

                 Defendants.

                         PLAINTIFF’S RULE 26(a)(1) DISCLOSURES

        Plaintiff William Barnhouse hereby gives notice that on June 13, 2019 he served his

 initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(1), on all counsel of record by electronic

 mail and US mail.


                                                /s/ Danielle Hamilton
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                                 CERTIFICATE OF SERVICE

        I, Danielle Hamilton, an attorney, hereby certify that on June 13, 2019, I served the

 foregoing pleading on all counsel of record listed below, via CM/ECF.

                                                             /s/ Danielle Hamilton
                                                             One of Plaintiff’s Attorneys

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